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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 8:16CR102
                                             )
       vs.                                   )
                                             )
SERGIO IRIBE-PARRA,                          )                   ORDER
                                             )
                     Defendants.             )


       This matter is before the court on defendant’s unopposed Motion to Continue For
Change of Plea [110]. Counsel requests a continuance of the trial setting in order to
execute plea documents. Counsel has indicated that defendant will comply with NECrimR
12.1(a). For good cause shown,

        IT IS ORDERED that the Motion to Continue For Change of Plea [110] is granted
as follows:

       1. The jury trial now set for December 6, 2016 is continued to January 3, 2017.

       2. The defendant shall file the affidavit required by paragraph 9 of the progression
order and NE.CrimR 12.1(a) forthwith.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and January 3, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED December 1, 2016.

                                   BY THE COURT:

                                   s/ F.A. Gossett, III
                                   United States Magistrate Judge
